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                                                              JS-6
6                            UNITED STATES DISTRICT COURT
7                          CENTRAL DISTRICT OF CALIFORNIA
8
       IN RE KUSHCO HOLDINGS, INC.          )   Lead Case No. 8:19-cv-00998-JLS-KES
9      STOCKHOLDER DERIVATIVE               )
       LITIGATION                           )   (Consolidated with Case No. 8:19-cv-
10                                          )   01070-JLS-KES)
                                            )
11                                          )
                                            )
12                                          )   ORDER DISMISSING CASE
       This Document Relates To:            )   WITHOUT PREJUDICE
13                                          )
       All Actions                          )
14                                          )
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     Case 8:19-cv-00998-JLS-KES Document 51 Filed 09/27/21 Page 2 of 2 Page ID #:262




1           The Court having considered the Stipulation Regarding Dismissal Without Prejudice
2 submitted by the Parties in the Action:
3 IT IS HEREBY ORDERED that:
4           1.    The above-captioned action is dismissed without prejudice; and
5           2.    Plaintiff and Defendants shall bear their own fees and costs.
6 IT IS SO ORDERED.
7
8 DATED: September 27, 2021
9                                    _________________________________________
10                                   HON. JOSEPHINE L. STATON
                                     UNITED STATES DISTRICT JUDGE
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